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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------x
                                                      :
In re                                                 :         Chapter 11
                                                      :
                                             1
EZRA HOLDINGS LIMITED et al.,                         :         Case No. 17 - 22405 (__)
                                                      :
                           Debtors.                   :         Joint Administration To Be Requested
------------------------------------------------------x

                           DECLARATION OF ROBIN CHIU IN SUPPORT OF
                                   CHAPTER 11 PETITIONS

             I, Robin Chiu, hereby declare under penalty of perjury:

                             BACKGROUND, JURISDICTION AND VENUE

             1.        I am the duly appointed Chief Restructuring Officer of Ezra Holdings Limited

(“Ezra”), EMAS IT Solutions Pte Ltd (“EMITS”) and Ezra Marine Services Pte. Ltd. (“Ezra

Marine,” and, collectively with Ezra and EMITS, the “Debtors”).

             2.        On March 18, 2017 (the “Petition Date”), the Debtors commenced the above-

captioned bankruptcy proceedings (the “Chapter 11 Cases”) by filing voluntary petitions under

Chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”) in the United States

Bankruptcy Court for the Southern District of New York (the “Bankruptcy Court”).

             3.        I submit this Declaration in support of the Debtors’ petitions for relief and in

compliance with Local Rule 1007-2 of the Bankruptcy Court. Except as otherwise indicated, all

statements in this Declaration are based upon my personal knowledge gained from review of

relevant documents, conversations with personnel of the Debtors and/or my opinion based on my

experience and my knowledge of the Debtors’ business. If I were called to testify, I could and

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             The Debtors in these chapter 11 cases, along with the last five characters of each Debtor’s registration
             identification number, include: Ezra Holdings Limited (1411N); Ezra Marine Services Pte. Ltd. (7685G);
             and EMAS IT Solutions Pte. Ltd (5414W). The location of Debtors’ U.S. office and the Debtors’ service
             address is: 75 South Broadway, Fourth Floor, Office Number 489, White Plains, NY 10601.



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would testify to each of the facts set forth herein based on the foregoing. I am authorized to

submit this Declaration on behalf of the Debtors.

                                        THE DEBTORS’ BUSINESS

             4.        Ezra is an investment holding company for a group of companies (the “Ezra

Group”). The Ezra Group provides integrated offshore solutions for the oil and gas industry.

             5.        Ezra is incorporated in Singapore with its registered office at 15 Hoe Chiang

Road #28-01 Tower Fifteen Singapore 089316. Its shares were listed on the SGX Sesdaq on

August 8, 2003 and moved to the Mainboard of the Singapore Exchange (“SGX-ST”) since

December 8, 2005.              It also issued certain notes (S$150,000,000 4.875% Notes due 2018

comprised in Series 003) (the “Notes”) which have been listed on the Singapore Exchange since

2013.

             6.        Ezra established and maintains an office in the United States located at 75 South

Broadway, Fourth Floor, Office Number 489, White Plains, NY 10601. Ezra also has a wholly

owned New York subsidiary, Ezra Holdings (NY) Inc., which was incorporated in the United

States of America with 200 shares at a nominal issue price per share.

             7.        EMITS, a wholly owned subsidiary of Ezra, provides supporting services to each

of the Ezra Group’s business divisions. The services provided are information technology

services including procuring data center services, Microsoft licenses, network connectivity,

computing support, shared IT equipment and service support, email service, project management

IT services support, software applications and support and servers from various service

providers.

             8.        EMITS’ source of income comes from billing the business divisions for the IT

support services provided and other services procured on their behalf.



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             9.        Ezra Marine is also a wholly owned subsidiary of Ezra. It has a leasehold interest

in the marine base in Singapore located at 51 Shipyard Road, Singapore 628139 and leases out

the base’s facilities and provides various support services in connection with the marine base to

the Ezra Group’s operating entities. These support services in connection with the marine base

include provision of power and potable water, various rental equipment, manpower and

management services, storage space and supplies.

             10.       Ezra Marine also rents out its property, EMAS Academy, located at Block 20 Ubi

Crescent #01-02, Singapore 408565 for the monthly sum of S$22,310.40.

                           EVENTS LEADING TO THE CHAPTER 11 FILING

             11.       Ezra’s recent financial difficulties resulted from the significant weakness and

volatility in the oil price environment which has persisted since 2014. This weakness and

volatility caused global concerns to both oil and gas and oilfield services operators, resulting in a

worldwide reduction in all activities in the exploration, development and production of oil and

natural gas. The prolonged challenging operating environment in the oil and gas industry made

it difficult for Ezra to carry out fundraising as a company listed on the SGX-ST.

             12.       Furthermore, the difficult operating environment in the oil and gas industry has

had a direct adverse impact on each of the Ezra Group’s business divisions, namely energy

services, offshore support and production services, marine services and EMAS CHIYODA

Subsea Limited (“ECS”). Besides Ezra’s status as a company listed on the SGX-ST, as a holding

company, its primary assets are its investments in its respective business divisions and it is

dependent on the returns from such investments and management fees for support services to

each of its business divisions to meet its own financial obligations. Accordingly, Ezra’s financial




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position has suffered as its business divisions were adversely impacted by the extremely

challenging operating environment.

             13.       Oversupply of offshore supply vessels along with the influx of newly built vessels

resulting in low competitive charter rates compounded the financial difficulties of Ezra’s

business divisions. Indeed, certain of Ezra’s business divisions are adversely affected by the

depressed charter rates due to the high bareboat charter rates which they took in the past in

various sale and lease back agreements. This environment in the oil and gas industry has made it

particularly difficult for the Ezra Group to operate at optimum capacity.

             14.       For fiscal year ended August 31, 2016, the Ezra Group, on a consolidated basis,

realized revenue of approximately $525 million, with corresponding cost of sales of

approximately $540 million, for a gross loss of approximately $15 million. The Ezra Group also

incurred other expenses, including administrative expenses, in excess of $835 million, for a net

loss from continuing business operations of approximately $850 million.

             15.       On the entity level, Ezra’s books and records reflect, as of August 31, 2016, long-

term assets valued at approximately $515 million, and current assets valued at approximately

$220 million. On a consolidated basis, for the same time period, the Ezra Group reflected long-

term assets valued at approximately $1.3 billion, and current assets valued at approximately $623

million.           Specifically, in relation to Ezra, the prolonged deterioration of the financial

performance of Ezra’s business divisions and the inability to carry out fundraising in the oil and

gas industry resulted in Ezra facing a cash crunch and an inability to pay their debts as they come

due.

             16.       The Ezra Group’s joint venture ECS, and certain of its affiliate companies filed

voluntary petitions for reorganization under Chapter 11 of the Bankruptcy Code in the United



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States Bankruptcy Court for the Southern District of Texas on February 27, 2017. ECS’ wholly-

owned subsidiary, EMAS-AMC AS, has also been placed under members’ voluntary liquidation

in Norway. As Ezra has guaranteed substantial charter hire liabilities of the ECS Group, as well

as certain loans owed by the ECS Group to financial institutions, Ezra faces potentially

significant contingent liability if the creditors call on the guarantees.

             17.       Ezra received statutory demands from Svenska Handelsbanken AB (Publ),

Singapore Branch and Forland Subsea AS on January 24, 2017 and February 6, 2017

respectively. These statutory demands have since expired under Singapore law and these two

creditors are at liberty to commence winding up applications against Ezra. Ezra also received a

statutory demand from VT Halter Marine, Inc. on March 9, 2017.

            ADDITIONAL INFORMATION PURSUANT TO LOCAL RULE 1007-2(a) and (b) 2

             18.       With respect to the holders of the twenty (20) largest unsecured claims for each of the

Debtors, excluding insiders, on “Exhibit A” hereto are the name, address, telephone number (to the

extent known), the name(s) of person(s) familiar with the Debtors’ respective accounts, the amount of the

claim, and whether the applicable Debtor asserts that such claim is contingent, unliquidated, disputed, or

partially secured. See Local Rule 1007-2(a)(4).

             19.       With respect to the holders of the five (5) largest secured claims for each of the

Debtors, on “Exhibit B” hereto are the name, address, the amount of the claim, a brief

description and estimate of value of collateral securing the claim, and whether the applicable

Debtor asserts that such lien or claim is disputed see Local Rule 1007-2(a)(5).

             20.       Ezra has issued in excess of 2.9 billion shares of publicly held stock, held by

approximately 17,400 persons or entities. The chart attached hereto as “Exhibit C” sets forth the

2
             Local Rule 1007-2 directs the inclusion of certain information in first-day declarations in chapter 11 cases
             filed in this district. To the extent not already addressed elsewhere herein, the Debtor discloses the
             information in this section in satisfaction of the requirements of Local Rule 1007-2.



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number of shares of stock held by each of the Ezra’s officers and directors and the amounts so

held. See Local Rule 1007-2(a)(7). EMITS and Ezra Marine are wholly owned subsidiaries of

Ezra.

             21.       Other than with respect to pledged stock certificates held by secured lenders, the

Debtors own no property in the possession or custody of any custodian, public officer,

mortgagee, pledgee, assignee of rents, or secured creditor, or agent for any such entity. See Local

Rule 1007-2(a)(8).

             22.       The chart attached hereto as “Exhibit D” sets forth a list of the premises owned,

leased, or held under other arrangement from which the Debtors operates their businesses. See

Local Rule 1007-2(a)(9).

             23.       Ezra’s substantial assets are intangible, comprised primarily of ownership

interests in its subsidiaries, and have no physical location. The Debtors’ books and records are

maintained at the Debtor’s principal offices in Singapore. See Local Rule 1007-2(a)(10).

             24.       The chart attached hereto as “Exhibit E” sets forth the nature and present status

of each action or proceeding, pending or threatened, against the Debtors or their property where

a judgment against the Debtors or a seizure of their property may be imminent. See Local Rule

1007-2(a)(11).

             25.       The chart attached hereto as “Exhibit F” sets forth the Debtors’ existing senior

management, their tenure with the Debtors, and a brief summary of their relevant responsibilities

and experience. (see Local Rule 1007-2(a)(12)).

             26.       The Debtors have prepaid their monthly payroll, and thus do not expect to pay

employees, excluding officers, directors, stockholders, and partners during the thirty (30) day

period following the Petition Date. See Local Rule 1007-2(b)(1).



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             27.       The Debtors do not expect to pay officers, directors and stockholders during the

thirty (30) day period following the Petition Date. See Local Rule 1007-2(b)(2)(B).

             28.       Attached hereto as “Exhibit G” is a schedule, for the thirty (30) day period

following the Petition Date, of estimated cash receipts and disbursements, net cash gain or loss,

obligations and receivables expected to accrue but remain unpaid, other than professional fees,

and any other information relevant to an understanding of the foregoing. See Local Rule 1007-

2(b)(3).




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             Pursuant to 28 U.S.C.   ç   1746,   I   declare under penalty   of perjury that the foregoing

statements are true and correct to the best of my knowledge.




Dated                                                         r\ el4,;
                                                     Chiu, Chief Restructuring Officer




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                                             EXHIBIT A –
                               Holders of Twenty Largest Unsecured Claims




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               Twenty Largest Unsecured Claims of Ezra Holdings Limited (as of February 28, 2017)
Creditor                      Address, Phone Number,         Estimated Amount        Contingent,
                              Person Familiar with           of Claim                Disputed,
                              Account                                                Unliquidated,
                                                                                     Partially Secured

DBS Bank Limited               12 Marina Boulevard DBS Asia        $ 272,071,000.00   Contingent
                               Central @ Marina Bay Financial
                               Centre Tower3 Singapore
                               018982
                               Ms Pat Chiam
                               +65 6878 2024
Oversea-Chinese Banking        65 Chulia Street, OCBC Centre       $ 184,477,000.00   Contingent
Corporation Limited            Singapore 049513
                               Ms Lai Li Fang
                               +65 6890 3788
HSBC Institutional Trust       21 Collyer Quay                     $ 108,457,980.06   Partially Secured
Services (Singapore)           #03-01 HSBC Building
Limited (as Trustee) for       Singapore 049320
the holders of the Notes       Ms Faye Daughters
                               +65 6658 5863
Svenska Handelsbanken          65 Chulia Street                    $ 12,500,000.00
                               #21-01/04 OCBC Centre
                               Singapore 049513
                               Ms Anita Koh
                               +65 6531 8309
RHB Bank Berhad                90 Cecil Street #03-00              $   8,994,801.89
                               Singapore 069531
                               Mr Lionel Chew
                               +65 6225 3111
United Overseas Bank           1 Raffles Place #23-61              $   8,773,980.32
Limited                        One Raffles Place Tower 2
                               Singapore 048616
                               Ms Esther Kwa
                               +65 6922 7371
Akastor AS                     PO Box 169 NO 1325                  $   6,406,033.00
                               LYSAKER Norway
                               Mr Leif H. Borge
                               +47 21 52 58 00
J.P. Morgan (S.E.A.)           168 Robinson Road 17th Floor,       $   2,942,500.00
Limited                        Capital Tower Singapore
                               068912
                               Mr Edmund Lee
                               +65 6882 2888
Expand Construction Pte        Ever Expand Building                $   1,599,935.23
Ltd.                           85 Defu Lane 10, #02-00
                               Singapore 539218
                               Ms Aung Soemoe
                               +65 6298 8066
DBS Bank Ltd.                  12 Marina Boulevard DBS Asia        $   1,201,864.45
                               Central @ Marina Bay Financial
                               Centre Tower3 Singapore
                               018982
                               Ms Lim Lay Hoon
                               +65 6878 4859


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Allen & Overy LLP              50 Collyer Quay #09-01 OUE        $    30,488.26
                               Bayfront Singapore 049321
                               +65 6671 6000
Wisteria Hotel                 15 Hoe Chiang Road #01-01         $    25,208.15
Management Pte Ltd.            Singapore
                               Ms. Annie Teo
Baker & McKenzie.Wong          8 Marina Boulevard #05-01         $    18,276.35
& Leow                         Marina Bay Financial Centre
                               Tower 1 Singapore 018981
                               +65 6338 1888
Rockstar Atelier Pte Ltd.      24 Sin Ming Lane Midview City     $    17,647.63
                               #08-93 Singapore 573970
                               Ms. Pixie Gan
                               +65 6684 1836
Freshfields Bruckhaus          11th Floor, Two Exchange          $    13,274.46
Deringer                       Square, Hong Kong
                               Ms. Catherine Leung
                               +852 2846 3314
The Hongkong and               Robinson Road                     $    11,600.27
Shanghai Banking               P O Box 896
Corporation Limited            Singapore 901746
                               +65 6658 5863
Rahmat Lim & Partners          Suite 33.01 Level 33              $     9,964.58
                               The Gardens North Tower
                               Mid Valley City, Lingkaran Syed
                               Putra Kuala Lumpur, Malaysia
                               59200
                               Ms Carol Lim
Cultural & Entertainment       1 Jalan Berseh #02-28 New         $     4,689.45
Holidays Pte Ltd               World Centre Singapore 209037
SeoSubmit.com                  10 Anson Road, #16-16             $     4,549.84
                               Singapore 079903
                               Ms. Glenice Toh
                               +65 6655 2482
Walkers (Singapore)            3 Church Street, #16-01           $     4,061.35
Limited Liability              Samsung Hub Singapore 049483
Partnership




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         Twenty Largest Unsecured Claims of Ezra Marine Services Pte Ltd. (as of February 28, 2017)

Creditor                   Address, Phone Number,             Estimated Amount of Contingent,
                           Person Familiar with               Claim               Disputed,
                           Account                                                Unliquidated,
                                                                                  Partially Secured
Oversea-Chinese            65 Chulia Street, OCBC Centre      $22,530,509.98
Banking Corporation,       Singapore 049513
Limited                    Ms. Lai Li Fang
                           +65 6890 3788
United Overseas Bank       1 Raffles Place #23-61             $13,987,829.39
Limited                    One Raffles Place Tower 2
                           Singapore 048616
                           Ms. Esther Kwa
                           +65 6922 7371
CTBC Bank Co., Ltd.        1 Raffles Place, #29-02/03         $10,000,000.00
                           Singapore 048616
                           Mr. Tong Cheng Foong
                           +65 6351 4888
DBS Bank Ltd.              12 Marina Boulevard, DBS Asia      $8,102,274.79
                           Central @ Marina Bay Financial
                           Centre Tower 3
                           Singapore 018982
                           Ms. Pat Chiam
                           +65 6878 2024
Australia and New          10 Collyer Quay #18-00 Ocean       $4,002,001.45
Zealand Banking Group      Financial Centre
Limited                    Singapore 049315
                           Mr. Michael Golinelli
                           +65 6681 1077
Citibank N.A. Singapore    8 Marina View, #21-00 Asia         $2,500,000.00
Branch                     Square Tower 1,
                           Singapore 018960
                           Mr. Joel Kang
                           +65 6657 5587
Huisman Equipment          P.O.Box 150-3100 AD                $709,120.26
B.V.                       Schiedom Admiraal Trompstraat
                           2 - 3115 HH Schiedam

Marine Engineering         Blk 36 Toh Guan Road East          $131,162.90
Systems (Asia Pacific)     #01-46 Enterprise Hub
Pte Ltd.                   Singapore 608580

MacGregor Norway AS        Andøyfaret 15, N-4623              $83,314.00
                           Kristiansand Norway

Lee & Lee                  50 Raffles Place #06-00            $22,784.63
                           Singapore Land Tower
                           Singapore 048623
                           +65 6220 0666
TTS Marine Crane AS,       P.O. Box 32 Laksevag Bergen        $5,500.00
Bergen                     5847, Norway
SP Services Ltd            Orchard P.O. Box 341                           $    3,243.07   SP Services Ltd
                           Singapore 912312
                           +65 1800 2222333


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Rentokil Initial           16 & 18 Jalan Meslin             $1,902.35
Singapore Pte Ltd.         Singapore 368815
                           +65 6347 8138
Ademco (Far East) Pte      315 Outram Road #08-03 Tan       $1,673.48
Ltd.                       Boon Liat Building
                           Singapore 169074

Aces Scale Models Pte      14 Robinson Road #13-00 Far      $1,528.46
Ltd.                       East Finance Building
                           Singapore 048545

Amnet Technology Pte       60 Kaki Bukit Place #06-11/12    $1,186.65
Ltd                        Eunos Techpark Singapore
                           415979
Fujitec Singapore          204 Bedok South Ave 1                        $   1,118.19
Corpn. Ltd                 Singapore 469333
GAC (Singapore) Pte        3 Lim Teck Kim Road #11-01                   $    849.54
Ltd                        Singapore Technologies Bldg
                           Singapore 088934
Keppel SMIT Towage         23 Gul Road Singapore 629356                 $    673.23
Private Limited
Instone Singapore Pte      390 Orchard Road #12-02 Palais               $    578.11
Ltd                        Renaissance Singapore 238871




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      Twenty Largest Unsecured Claims of EMAS IT Solutions Pte Ltd. (as of February 28, 2017)
Creditor                  Address, Phone        Estimated Amount of         Contingent, Disputed,
                          Number, Person        Claim                       Unliquidated, Partially
                          Familiar with Account                             Secured
HP Financial Services (S) 450 Alexandra Road    $1,244,159.24
Pte Ltd                        Singapore 119960
                               Goh Tian Tiong
                               +6 03 2303 2688
Netrust Pte Ltd                70 Bendemeer Road #05-    $134,000.00
                               03, Luzerne Singapore
                               339940
                               Foo Jong Ai
                               +65 6212 1388
Dell Global B.V.               Robinson Road Post        $113,290.32
(Singapore Branch )            Office P.O.Box 1899
                               Singapore 903749
                               Jasmine Lee
                               +65 6692 3000
NCS Pte Ltd                    31 Exeter Road,           $50,877.63
                               Comcenter Podium Block,
                               2nd floor, Singapore
                               239732
                               Andy Lee
                               +65 6556 8000
AvePoint Singapore Pte         10 Collyer Quay , Level      $9,962.92
Ltd                            17 , Unit #01-04 Ocean
                               Financial Centre
                               Singapore 049315
                               Katherine Li
                               + 65 6692 9028
SMS Management &               One Raffles Place 1          $3,696.08
Technology Singapore Pte       Raffles Place Level 24
Ltd                            Singapore 048616
Ernst & Young Solutions        Robinson Road                $810.73
LLP                            PO Box 384
                               Singapore 900734




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                                            EXHIBIT B –
                                Holders of Five Largest Secured Claims
Ezra Holdings Limited (as of February 28, 2017)

Name/Address                   Amount of Claim            Collateral         Disputed?
Oversea-Chinese Banking        $47,215,193.78             Various
Corporation Limited
DBS Bank Ltd.                  $47,054,282.90             Various
United Overseas Bank           $10,152,004.17             Various
Limited

Ezra Marine Services Pte Ltd. (as of February 28, 2017)

Name/Address                   Amount of Claim            Collateral         Disputed?
Oversea-Chinese Banking        $26,385,808.72             Various
Corporation Limited

EMAS IT Solutions Pte Ltd.

                                                  None




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                                              EXHIBIT C –
                                    Stock Held by Officers and Directors


Ezra Holdings Limited
                                                                           Nature and Percentage of
        Name and Address                           Title                      Stock Ownership
              Lee Kian Soo                        Director                     45,390,800 shares
        Lee Chye Tek Lionel                       Director                     563,167,225 shares
        Eng Heng Nee Philip                       Director                       603,200 shares
 Jit Sun Investments Pte Ltd1                    Corporate                     107,720,463 shares

 Note:
 1 – Mr. Lee Chye Tek Lionel is deemed to be interested in the shares of Jit Sun Investments Pte Ltd by
 virtue of his 100% shareholding in Jit Sun Investments Pte Ltd.




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                                             EXHIBIT D –
                               Premises Owned, Leased or Held for Operations

Premises                                            Debtor
75 South Broadway                                   Ezra Holdings Limited
Fourth Floor, Office Number 489                     Ezra Marine Services Pte Ltd.
White Plains, NY 10601                              EMAS IT Solutions Pte Ltd.

777 Westchester Avenue                              Ezra Holdings, Limited
Suite 101, White Plains, NY 10604

15 Hoe Chiang Road, Level 9 and 28                  Ezra Holdings Limited
Tower Fifteen
Singapore 089316

15 Hoe Chiang Road, Level 5                         EMAS IT Solutions Pte Ltd.
Tower Fifteen
Singapore 089316

51 Shipyard Road                                    Ezra Marine Services Pte Ltd.
Singapore 628139                                    Ezra Holdings Limited

EMAS Academy                                        Ezra Marine Services Pte Ltd.
Blk 20, Ubi Crescent #01-02
Singapore 408565




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                                               EXHIBIT E –
                               Pending and Threatened Actions and Proceedings

Action / Creditor              Nature                       Applicable Debtor          Status
VT Halter Marine, Inc. Vs      Demand on Guarantee          Ezra Holdings Limited      Pending
(1) Emas Chiyoda Subsea,
Inc. f/k/a Emas-Amc Inc.
and (2) Ezra Holdings
Limited

VT Halter Marine, Inc.         Debt Collection              Ezra Holdings Limited      Threatened
                               (statutory demand)
Gulen Base AS                  Demand on Guarantee          Ezra Holdings Limited      Threatened
Aker Solutions AS (n/k/a       Debt Collection              Ezra Holdings Limited      Threatened
Akastor AS) and Aker
Oilfield Services AS (n/k/a
AKOFS Offshore AS)
DNB Bank ASA                   Demand on Guarantee          Ezra Holdings Limited      Threatened
Svenska Handelsbanken          Debt Collection              Ezra Holdings Limited      Threatened
AB (publ), Singapore           (statutory demand)
Branch
Forland Subsea AS              Demand on Guarantee          Ezra Holdings Limited      Threatened
                               (statutory demand)
Hai Jiang 1401 Pte Ltd.        Demand on Guarantee          Ezra Holdings Limited      Threatened
Standard Chartered Bank        Demand on Guarantee          Ezra Holdings Limited      Threatened
Serimax North America,         Demand on Guarantee          Ezra Holdings Limited      Threatened
LLC
Australia and New Zealand      Debt Collection and          Ezra Marine Services Pte   Threatened
Banking Group, Limited         Demand on Guarantee          Ltd. (obligor); Ezra
                                                            Holdings Limited
                                                            (Guarantor)
Citibank, N.A.                 Debt Collection              Ezra Marine Services Pte   Threatened
                                                            Ltd
Dell Global B.V.               Debt Collection              EMAS IT Solutions Pte      Threatened
                                                            Ltd.
HP Financial Services          Debt Collection              EMAS IT Solutions Pte      Threatened
(Singapore) Pte Ltd                                         Ltd.




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                                              EXHIBIT F
                                           Senior Management

EZRA HOLDINGS LIMITED

Lee Chye Tek Lionel, Group CEO and Managing Director
Appointed as Director on 23 March 1999 and last re-elected on 31 December 2014
Mr. Lee is responsible for the overall management and operations of the Group. He has been the driving
force behind the Group’s dynamic growth and was instrumental in its listing on the Singapore Exchange
in 2003. He also spearheaded the Group’s entry into the subsea construction industry, with the acquisition
of Aker Marine Contractors in 2011. Also recognized for his work in corporate social responsibility, he
was awarded Singapore’s Public Service Medal in 2011 for his work with underprivileged children in
Singapore. He holds a Graduate Diploma in Business Administration from the Western Sydney
International College. Mr. Lee joined the Ezra Group in 1996.


Tay Chin Kwang, Advisor to the Board and Deputy CEO
Mr. Tay is the Group’s Advisor and has responsibility over strategic partnerships and joint ventures for
the Group effective from 1 November 2013. Prior to this, he was the Group’s Finance Director (executive
director). Mr. Tay has over 23 years of experience in various accounting, finance management and
business advisory functions across a broad spectrum of industries. Mr. Tay has vast experience in
corporate and business structuring, mergers and acquisitions and corporate finance. He was also
previously the Chief Financial Officer of a Singapore Exchange Mainboard-listed company.
Mr. Tay holds a Bachelor of Accountancy from the National University of Singapore. He is a fellow
member of the Institute of Singapore Chartered Accountants. Mr. Tay joined the Ezra Group in 2007 and
took on the additional role of Deputy CEO effective from March 1, 2016 to assist in the management of
the Group.


Chan Eng Yew, Interim CFO
Mr. Chan is currently the CEO of Ezra’s subsidiary, Triyards Holdings Limited and is responsible for the
overall management and operations of the company. He is currently Ezra Group’s Interim CFO, a
position effective from January 27, 2016. Before his appointment, he was the Chief Financial Officer of
EOC Limited, where he actively built its portfolio in financial operations and headed the investor
relations and corporate finance departments. He played a significant role in spearheading its listing on the
Main Board of the Oslo Stock Exchange in 2007, positioning EOC as the first Singapore company to list
there. Mr. Chan holds a Master’s in Business Administration from the University of Louisville in



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Kentucky and a Master’s in Applied Finance from Macquarie University in New South Wales. Mr. Chan
joined the Ezra Group in 2003.


Michael Lai Kai Jin, Group General Counsel and Head of Insurance
Mr. Lai graduated from the National University of Singapore with a L.L.B (Hons) Degree in 1994 and
was called to the Singapore Bar the following year. He was formerly a partner of Messrs. KhattarWong,
one of the largest law firms in Singapore with offices in Singapore, Shanghai, Hanoi and Ho Chi Minh.
Mr. Lai's practice focused on marine and admiralty law and has handled numerous legal disputes in the
area of international trade and transport. Mr. Lai was formerly the chairman of the Advisory Body Legal
Matters, FIATA and the Legal Counsel for the Singapore Logistics Association. Mr. Lai joined the Ezra
Group in 2011.


EMAS IT SOLUTIONS PTE LTD.

Alex Ang, General Manager
Mr. Ang is responsible for the provision of global IT services and support for Ezra and its group of
companies. He joined the Ezra Group in 2011 and formed EMAS IT Solutions Pte Ltd to structure and
transform IT to support the growing demands of the evolving global organization. He graduated with a
Bachelor of Science (Computer and Information Sciences) from the National University of Singapore.




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                                            EXHIBIT G –
                                   30-day Receipts and Disbursements



Ezra Holdings Limited:
Cash Receipts                                             $1,174,880

Cash Disbursements                                        $289,695

Surplus / (Deficit)                                       $885,185




EMAS IT Solutions Pte Ltd:
Cash Receipts                                             $67,000

Cash Disbursements                                        $555,460

Surplus / (Deficit)                                       $(488,460)




Ezra Marine Services Pte. Ltd.:
Cash Receipts                                             $462,436

Cash Disbursements                                        $431,841

Surplus / (Deficit)                                       $30,595




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